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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                         )
AMERICAN OVERSIGHT,                      )
                                         )
                              Plaintiff, )
                                         )
v.                                       )                Case No. 18-2840
                                         )
U.S. DEPARTMENT OF JUSTICE ET AL.,       )                DECLARATION OF GLENN S.
                                         )                KERNER IN SUPPORT OF MOTION
                           Defendants. )                  FOR ADMISSION PRO HAC VICE
                                         )


       I, Glenn S. Kerner, declare:

       1.         I make this Application under Local Rule 83.2(d) to appear in this case pro

hac vice on behalf of Plaintiff American Oversight. I have personal knowledge of the facts set

forth herein and, if called upon to testify about them, I could and would competently do so.

            2.    My full name is Glenn Stuart Kerner.

            3.    I am a partner with the law firm Goodwin Procter LLP, located at:

                  620 Eighth Avenue

                  New York, NY 10018

                  (212) 459-7460

            4.    I am an attorney in good standing and currently eligible and licensed to

practice in the state of New York and New Jersey, U.S. Court of Appeals for the Second

Circuit, U.S. Court of Appeals for the Third Circuit, U.S. Court of Appeals for the Fourth

Circuit, U.S. Court of Appeals for the Sixth Circuit, U.S. Court of Appeals for the Ninth

Circuit, U.S. District Court for the District of New Jersey, U.S. District Court for the Eastern

District of New York, U.S. District Court for the Northern District of New York, U.S. District

Court for the Southern District of New York, U.S. District Court for the Western District of
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New York, U.S. District Court for the Western District of Texas, and U.S. District Court for the

Western District of Wisconsin.

          5.      I am not currently, and have never been, disciplined, suspended, or disbarred

by any court.

        6.          I have not been admitted pro hac vice before this Court at any time in the

past two years.

        7.         I do not currently have an application for membership pending before the

 District of Columbia Bar.

        I declare under penalty of perjury that the foregoing is true and correct.


Dated: December 4, 2018                                Respectfully submitted,

                                                       /s/ Glenn S. Kerner
                                                       Glenn S. Kerner
                                                       GOODWIN PROCTER LLP
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                                                       New York, NY 10018
                                                       (212) 459-7460
                                                       Gkerner@goodwinlaw.com




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